CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?942494238951438-...
                          Case 1:22-cv-01073-MLB Document 8 Filed 03/31/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                   1:22-cv-01073-MLB
                                                    Wade et al v. Wood
                                                Honorable Michael L. Brown

                                    Minute Sheet for proceedings held In Chambers on 03/31/2022.


              TIME COURT COMMENCED: 3:00 P.M.
              TIME COURT CONCLUDED: 3:20 P.M.                     COURT REPORTER: Jana Colter
              TIME IN COURT: 00:20                                DEPUTY CLERK: Jessica Kelley
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)       Andrew Beal representing G. Taylor Wilson
         PRESENT:          Andrew Beal representing Jonathan D. Grunberg
                           Andrew Beal representing Nicole Jennings Wade
         OTHER(S) PRESENT: Ibrahim Reyes for Defendant (for teleconference only)
         PROCEEDING
                           Telephone Conference(Other Proceeding Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:      Teleconference held regarding potential conflict. The Court STAYS the
                           deadline to file any responsive pleadings until the conflict issue is
                           resolved.
         HEARING STATUS:   Hearing Concluded




1 of 1                                                                                                             3/31/2022, 5:09 PM
